      Case: 21-2897   Document: 10      Filed: 03/30/2022   Pages: 1



               United States Court of Appeals
                  For the Seventh Circuit

AMANDA JANE BERGQUIST,                 ] Appeal from the United
        Plaintiff-Appellant,           ] States District Court for
                                       ] the Northern District of
No. 21-2897                  v.        ] Illinois, Eastern Division
                                       ]
DONALD MILAZZO, et al.,                ] No. 1:18-cv-03619
        Defendants-Appellees.          ]
                                       ] John Robert Blakey,
                                       ]      Judge.


                AGREED MOTION FOR VOLUNTARY DISMISSAL

     In accordance with discussions held under Federal Rule of
Appellate Procedure 33 and with the consent of the Appellees, the
Appellant moves the Court to dismiss this appeal pursuant to
Federal Rule of Appellate Procedure 42(b), each party to bear their
own costs.



                           __         _/s/ Solomon M. Radner
                                      Attorney for Appellant



                           ________      March 30, 2022____
                                             Date
